     Case: 1:19-cv-00025 Document #: 44 Filed: 06/13/19 Page 1 of 1 PageID #:354

                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                 Eastern Division

Crazy Aaron Enterprises, Inc
                                                     Plaintiff,
v.                                                                Case No.:
                                                                  1:19−cv−00025
                                                                  Honorable Charles R.
                                                                  Norgle Sr.
Partnerships and Unincorporated Associations
Identified on Schedule "A", et al.
                                                     Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, June 13, 2019:


        MINUTE entry before the Honorable Charles R. Norgle, Sr:Motion for default and
default judgment [40] is granted. The parties are not required to appear before the court on
Friday, June 14, 2019. Civil case terminated. Mailed notice(ewf, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
